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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

In Re:                                    )
                                          )
GreenTech Automotive, Inc.,               ) Case No. 18-10651-BFK
                                          ) Chapter 11
                            Debtor.       )
__________________________________________________________________

In Re:                                    )
                                          )
Gulf Coast Funds Management, LLC,         ) Case No. 18-10653-BFK
                                          ) Chapter 11
                          Debtor.         )
__________________________________________________________________

In Re:                                    )
                                          )
GreenTech Automotive Capital A-3 GP, LLC, ) Case No. 18-10655-BFK
                                          ) Chapter 11
                          Debtor.         )
__________________________________________________________________

In Re:                                      )
                                            )
GreenTech Automotive Partnership A-3, L.P., ) Case No. 18-10656-BFK
                                            ) Chapter 11
                          Debtor.           )
__________________________________________________________________

             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

         PLEASE TAKE NOTICE that Jing Shen, Wen Yang, Wenjie Wang, Xiaoning Zhao,

Chunlei Guo, Like Ma, Xin Mu, Gan Long, Jian Liu, Ling Wan, Xiaohong Yang, and Xin Yang,

________________________
Robert H. Chappell III, Esquire (VSB #31698)
Timothy G. Moore, Esquire (VSB #41730)
Jennifer J. West, Esquire (VSB #47522)
James K. Donaldson, Esquire (VSB #80307)
SPOTTS FAIN PC
411 East Franklin Street, Suite 600
Richmond, Virginia 23219
Telephone: (804) 697-2000
Facsimile: (804) 697-2100
Counsel for Jing Shen, Wen Yang, Wenjie Wang, Xiaoning Zhao,
Chunlei Guo, Like Ma, Xin Mu, Gan Long, Jian Liu, Ling Wan,
Xiaohong Yang, and Xin Yang
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pursuant to Bankruptcy Rule 9010(b), hereby appear by their counsel in the above-captioned

case and request that notice of all matters and service of all papers, reports, pleadings and other

documents therein be duly served on their counsel at the address shown below and that they be

included on all limited notice or service lists authorized by the Court in this case.

       PLEASE TAKE FURTHER NOTICE that this document shall not be deemed or

construed to be a waiver of Jing Shen, Wen Yang, Wenjie Wang, Xiaoning Zhao, Chunlei Guo,

Like Ma, Xin Mu, Gan Long, Jian Liu, Ling Wan, Xiaohong Yang, and Xin Yang’s rights (1) to

have final orders in non-core matters entered only after de novo review by a District Judge; (2) to

trial by jury in any proceeding so triable in this case or any case, controversy, or proceeding

arising in or related to this case, (3) to have the District Court withdraw the reference in any

matter subject to mandatory or discretionary withdrawal, or (4) to any other rights, claims,

actions, defenses, setoffs, or recoupments to which Jing Shen, Wen Yang, Wenjie Wang,

Xiaoning Zhao, Chunlei Guo, Like Ma, Xin Mu, Gan Long, Jian Liu, Ling Wan, Xiaohong

Yang, and Xin Yang are or may be entitled, in law or equity, all of which rights, claims, actions,

defenses, setoffs, and recoupments Jing Shen, Wen Yang, Wenjie Wang, Xiaoning Zhao,

Chunlei Guo, Like Ma, Xin Mu, Gan Long, Jian Liu, Ling Wan, Xiaohong Yang, and Xin Yang

expressly reserve.


                                               JING SHEN, WEN YANG, WENJIE WANG,
                                               XIAONING ZHAO, CHUNLEI GUO, LIKE MA,
                                               XIN MU, GAN LONG, JIAN LIU, LING WAN,
                                               XIAOHONG YANG, AND XIN YANG

                                               By: /s/ Timothy G. Moore
                                                             Counsel
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Counsel for Jing Shen, Wen Yang, Wenjie Wang,
Xiaoning Zhao, Chunlei Guo, Like Ma, Xin Mu,
Gan Long, Jian Liu, Ling Wan, Xiaohong Yang,
and Xin Yang


                               CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing Notice of Appearance and Request for
Service was served via U.S. Mail, postage prepaid, or electronic means on this 1st day of March,
2018, to the following, constituting all necessary parties:

GreenTech Automotive, Inc.                       Gulf Coast Funds Management, LLC
21355 Ridgetop Circle, Suite 250                 21355 Ridgetop Circle, Suite 250
Sterling, VA 20166                               Sterling, VA 20166
Debtor                                           Debtor

GreenTech Automotive Capital A-3 GP, LLC         GreenTech Automotive Partnership A-3, L.P.
21355 Ridgetop Circle, Suite 250                 21355 Ridgetop Circle, Suite 250
Sterling, VA 20166                               Sterling, VA 20166
Debtor                                           Debtor

Kristen E. Burgers                               John P. Fitzgerald, III
Hirschler Fleischer                              Office of the U.S. Trustee - Region 4
8270 Greensboro Drive, Suite 700                 115 South Union Street, Room 210
Tysons Corner, VA 22102                          Alexandria, VA 22314
Debtors’ Counsel

                                               /s/ Timothy G. Moore
                                                    Counsel
